                   Case 4:19-cv-07123-PJH Document 12 Filed 11/18/19 Page 1 of 1



                                       UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF CALIFORNIA
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     DQG)$&(%22.,1&D'HODZDUHFRUSRUDWLRQ                  FY
                                                         &DVH1RBBBBBBBBBBBBBBB
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                                         Plaintiff(s),   APPLICATION FOR
                                                        ADMISSION OF ATTORNEY
              v.
                                                         PRO HAC VICE
    162*52837(&+12/2*,(6/,0,7('DQG                 (CIVIL LOCAL RULE 11-3)
     4&<%(57(&+12/2*,(6/,0,7('
 
                           Defendant(s).
 
         I, 'DQLHO - *URRPV                      , an active member in good standing of the bar of
     WKH 'LVWULFW RI &ROXPELD     , hereby respectfully apply for admission to practice pro hac vice in the
   Northern District of California representing: 3ODLQWLIIV                                   in the
                                                                7UDYLV /H%ODQF
     above-entitled action. My local co-counsel in this case is __________________________________,     an
   attorney who is a member of the bar of this Court in good standing and who maintains an office
   within the State of California.
       MY ADDRESS OF RECORD:                               LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
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      3HQQV\OYDQLD$YH1:6XLWH                 &DOLIRUQLD 6W WK )ORRU
    :DVKLQJWRQ'&                                6DQ )UDQFLVFR &$ 
       MY TELEPHONE # OF RECORD:                           LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
                                               
       MY EMAIL ADDRESS OF RECORD:                         LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
    GJURRPV#FRROH\FRP                                  WOHEODQF#FRROH\FRP
        I am an active member in good standing of a United States Court or of the highest court of
   another State or the District of Columbia, as indicated above; my bar number is:        .
       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.

         I declare under penalty of perjury that the foregoing is true and correct.

      Dated:                                             V 'DQLHO - *URRPV
                                                                              APPLICANT


                                       ORDER GRANTING APPLICATION
                               FOR ADMISSION OF ATTORNEY PRO HAC VICE
       IT IS HEREBY ORDERED THAT the application of 'DQLHO - *URRPV                           is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
   designated in the application will constitute notice to the party.               DISTRI S                    CT
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     Dated:
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                   November 18, 2019
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                                                                                                                             RT




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                                                                               UNIT




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                                                            UNITED STATES DISTRICT/MAGISTRATE JUDGE
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                                                                                                              e Scott
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                                                                                         Judge Ja
                                                                                RT




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     PRO HAC VICE APPLICATION & ORDER                                                   ER                                                October 2012
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